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 Transfer Co., Inc.


                IN AND BEFORE THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF UTAH, CENTRAL DIVISION




 ROBERT RYAN JOHNSON, as Executor and
 Trustee of the Estate of Terrence Blair Hunter,       REPLY MEMORANDUM SUPPORTING
                                                       DEFENDANT’S MOTION TO DISMISS
        Plaintiff,

 vs.
                                                       Case No. 2:22-cv-591-JNP
 STANDARD REGISTRAR & TRANSFER
 COMPANY, INC., a Utah corporation,                    Judge Jill N. Parrish

        Defendant.                                     Magistrate Judge Dustin Pead




        Defendant Standard Registrar & Transfer Co., Inc. (“Defendant” or “SRTC) hereby

 replies to its Rules 12(b)(1) and 12(b)(6) motion to dismiss. In lieu of including a rebuttal

 affidavit to contest factual averments in Defendant SRTC’s Motion to Dismiss, averments

 supported by a Declaration of SRTC’s counsel, Johnson instead incorporates by reference his

 response to SRTC’s outstanding motion for sanctions. For that reason, SRTC hereby also

 incorporates by reference its Sanctions Motion on file herein, including its reply memo.
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     Reply Point I—JOHNSON CONTENDS THAT HE IS ENTITLED TO IGNORE JUDGE
                        LAWRENCE’S SEPT. 20, 2021, RULING AND ORDER (R&O).
           Johnson contends that because Judge Lawrence did not forever bar him from having the

 ability to act as the personal representative of the deceased Canadian’s estate in Utah and because

 the case was later dismissed, Johnson has the discretion to ignore Judge Lawrence’s Ruling and

 Order (R&O). 1 Opp., p. 3. He provides no authority for this position. At the same time, whether
                   0F




 intentional or not, he recites the incorrect provision of the R&O. Id. The pertinent portion of

 Judge Lawrence’s R&O at issue in this litigation is this:

                             3. The Court imposes the following ORDER upon
                             the plaintiff, in order to demonstrate that the
                             plaintiff has the appropriate power and authority to
                             legally act on behalf of the Estate and bring these
                             claims. Within 90 days (or a reasonable time
                             thereafter if 90 days is not feasible), Plaintiff must
                             file a brief with the Court supporting Mr. Johnson’s
                             power and authority to act on behalf of the Estate.
                             Ideally, that would include an Order from a Court
                             (in Mexico or Canada) providing the basis for that
                             authority. If, for whatever reason, that is not
                             possible, then Plaintiff must file a reasonable
                             substitute which should include either: i) opinion
                             letters from law firms in Canada or Mexico upon
                             which this Court may rely, and/or ii) a legal brief
                             with argument and citation to Canadian, Mexican
                             and/or international law reflecting Mr. Johnson’s
                             authority to act under these circumstances. 2  1F




 Given this ¶ 3 of the R&O, Johnson does acknowledge that “Judge Lawrence also ordered

 Johnson to provide supplemental authority to establish Johnson’s authority to act on behalf of the

 estate,” but he claims that “that portion of the order had nothing to do with whether Johnson



 1
     In other words, he believes he has free rein to forum shop indefinitely.
 2
     See Statement of Facts, ¶ 4, p. 4, SRTC’s Motion to Dismiss and Exhibit B thereto.
                                                         2
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 survived a 12(b) motion.” Opp., p. 4, top. This statement makes no sense. Whether Judge

 Lawrence granted the entirety of the motion giving rise to the R&O is irrelevant to ¶ 3 of the

 R&O quoted above. Judge Lawrence ruled that the Mexican notary newspaper announcement

 document Johnson brought with him to Utah as a lawful basis for his standing is insufficient to

 establish that Johnson—using his own words—has “legal authority to act on behalf of the estate”

 here in Utah. Id. This is what Judge Lawrence held but Johnson simply refuses to obey or honor

 it, preferring instead to forum shop for another judge and argue that the R&O does not apply. 3       2F




         Johnson proceeds to argue that SRTC mischaracterizes the Law of the Case Doctrine.

 Opp., p. 4. But this criticism is invalid. The holding of Build, Inc., 428 P.2d at 999 cited in note

 1 of SRTC’s motion, is that a successor judge has authority to revisit a previous judge’s decision

 where it appears to the second judge that the first ruling was “clearly erroneous” and will infect

 the subsequent proceedings with error. Accordingly, for this Court to overrule ¶ 3 of the R&O,

 this Court would need to find such determination by Judge Lawrence “clearly erroneous.”

 SRTC’s point is that that would be difficult to do.

         But Johnson goes further and argues that the Doctrine does not apply here because this

 case and Judge Lawrence’s case are different cases. Opp., p. 5. But if that were true, no ruling in

 a lawsuit could ever apply to a subsequent related lawsuit involving the same parties and issues.

 Collateral estoppel would be undermined as well. Johnson cites no authority for such a

 proposition. If what Johnson argues here were true, one could defeat the Law of the Case

 Doctrine by letting a case get dismissed on dilatory grounds and then plaintiff could shop for a



 3
   Johnson cites no authority that ¶ 3 of the R&O quoted above does not apply to him nor is there any
 reason it would not. If that were true, Johnson could indefinitely file other lawsuits in reliance on the
 Mexican notary document until he finds a judge willing to accept it, something he seeks to achieve here.
                                                      3
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 new judge ad infinitum until he eventually drew the judge who would give him the result he is

 looking for. Forum shopping as a prohibition would have no meaning if a person could do that,

 over and over, with impunity. Yet that is what Johnson argues here by contending that Judge

 Lawrence’s R&O does not apply to him. Is it any wonder why Johnson keeps filing lawsuits in

 which he ignores prior court rulings? 4 3F




           Lastly, Johnson argues that SRTC is seeking a different result than what Judge Lawrence

 ruled. Opp., p. 5. Again, this makes no sense. To the contrary, not only is SRTC not seeking a

 different result from Judge Lawrence’s R&O, SRTC is seeking to enforce Judge Lawrence’s

 R&O, specifically, ¶ 3 thereof requiring Johnson to comply with Canadian and international law

 in order to demonstrate his lawful authority in Utah. 5 This is not to ignore that by letting the
                                                         4F




 Judge Lawrence case get dismissed due to Johnson’s refusal to file a costs bond and then hurrying

 to petition the Utah probate court for a probate order in which he concealed Judge Lawrence’s

 R&O, Johnson committed a brazen fraud on the Utah Probate Court. Cf., Opp., p. 5. The fact is

 that Canadian national, Johnson, and his Canadian national decedent, Hunter, have zero

 connection to this jurisdiction. None whatsoever. See p. 2, SRTC’s Reply Memo Supporting

 Sanctions. Johnson’s sole objective since his first letter to SRTC less than one month after

 Hunter died on September 3, 2019, is only to obtain documents by which, with the help of his




 4
     See Point C, p. 7, SRTC’s Reply Memo in Support of Sanctions (discussing forum shopping).
 5
   The absurdity of Johnson’s position is exemplified by the fact that he could have gone to any country in
 the entire world to get something identical to the Mexican notary newspaper announcement document that
 he has produced here in Utah as the basis for his legal authority to act as the Hunter estate’s personal
 representative and if so, he would be arguing the exact same thing that he has argued over the last 1½
 years. Significantly, as SRTC points out in note 4, p. 6 of its Reply to its Sanctions Motion, Johnson’s
 own Mexican counsel advised him that he doubted a Mexican notary had power or authority to process a
 “succession” in Mexico and yet Johnson ignored that advice as well and relied on a Mexican notary.
                                                     4
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 handwriting experts, he might make out a fraudulent or wrongful [stock certificate] endorsement

 case. In short, he seeks to discover his way into a fraud case without complying with Rule 9(b).

             Reply Point II—JOHNSON FAILS TO REBUT THE CHARGE THAT HIS
      COMPLAINT LACKS SUFFICIENT FACTS TO SHOW AT LEAST $75,000 IN
     DAMAGES. AT THE SAME TIME, HE ADMITS HE HAS NO IDEA WHAT THE
  DAMAGES MIGHT BE. HIS OPPOSITION REVEALS NOTHING BUT AN EFFORT
         TO DISCOVER HIS WAY INTO FRAUDULENT ENDORSEMENT CASE.
        Johnson alleges in ¶ 21 his Complaint that 630,000 shares of the decedent’s stocks were

 transferred from Mexico while he was in a Canadian hospital “around August and September

 2019” (having died on September 3, 2019). Yet ¶ 10 of the same Complaint alleges that the

 decedent travelled from Mexico to Vancouver, Canada, in “late-August 2019.” There is no

 reason to believe that Hunter did not cause the transfers from Mexico before he left the country,

 never to return. Surely it would have been difficult for him to do such paperwork later on from a

 hospital. “Non-routine” stock transfers can take as much as 30 days under the Code of Federal

 Regulations. Accordingly, if there is something fraudulent alleged here, we do not know what it

 is. Johnson’s pleading thus fails to comply with Rule 9(b), Fed. R. Civ. Pro. and his Complaint

 should be dismissed on that basis. To be sure, Johnson alleges no facts whatsoever to support the

 allegation in ¶ 21 that the alleged stock transfers were not authorized by Hunter before he left

 Mexico in “late-August 2019.” If they were sent by Hunter or someone he authorized to send

 them, they were indeed authorized. No facts to the contrary are alleged.

        Paragraphs 17-20 of Johnson’s Complaint allege that the decedent, Hunter, transferred

 shares starting in 2016 thru 2019 and that “these transfers were not done by Hunter or authorized

 by Hunter.” Similarly, there are no facts alleged to show that this is the least true. How on earth

 would Johnson know whether Hunter authorized transfers of his property going back to 2016?
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 Once again, if there is some kind of fraud here, Johnson fails to identify it in conformity with the

 pleading requirements Rule 9(b).

        Ignoring Johnson’s failure to comply with Rule 9(b), there is nothing in Johnson’s

 Complaint to demonstrate that the actions alleged in ¶’s 17 thru 21, even if true, give rise to as

 much as $75,000 in damages. How can one reach that conclusion from the face of the

 Complaint? One cannot.

         While Johnson tries to distinguish but four of several cases cited by SRTC to conclude

 that his claims lack the requisite jurisdictional amount, the fact is that his Complaint is entirely

 speculative, failing to show $75,000 or any other amount in potential damages on its face. For

 example, Johnson lacks one single record to substantiate what he alleges. His entire Complaint

 rests on the prospect of him getting his hands on stock transfer records and then getting his

 handwriting expert to claim that Hunter’s endorsements are forgeries. As it is, such claims, on

 their face, without some sort of proof, do not allege facts sufficient to convince a court that the

 recoverable damages will bear a reasonable relation to the $75,000 jurisdictional floor. See Def’s

 Motion to Dismiss, Point II, pp. 9-10. For this reason, the Complaint should not only be

 dismissed for failure to meet the jurisdictional diversity requirement, but it should also be

 dismissed under Rule 9(b) for failing to plead fraud (fraudulent endorsement) with particularity.

 The law is clear that Johnson should not be allowed to discover his way into a fraud case on the

 basis of an entirely speculative pleading, one of the express purposes of Rule 9(b). United States

 v. ex rel. Grubbs, 565 F.3d 180, 185, 2009 U.S. App. LEXIS 7135 (5th Cir. 2009) (purpose of

 gatekeeper Rule 9(b) is to weed out meritless fraud claims); Resler v. Financial Group, Inc., 668




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 F. Supp. 1454, 1458 (DC Okla. 1985) (Rule 9(b) prevents a groundless fraud claim from being

 used to discover a wrong).

    Reply Point III—JOHNSON, A CANADIAN NATIONAL WHO HAS REPEATEDLY
    ABUSED OUR LEGAL SYSTEM AND WHO HAS NO TIES TO UTAH, FAILS TO
 REBUT THE CHARGE THAT THE LAW REQUIRES HIM TO POST A SUBSTANTIAL
                               CASH COSTS BOND TO PROCEED.
        While Johnson argues he should not have to post a costs bond because SRTC would not

 be entitled to recover costs or fees from him (i.e., an apparent rationale for his forum shopping),

 Johnson ignores the law here. This case meets all the legal criteria for imposition of a large cash

 costs bond. See Point III, Motion to Dismiss, p. 11-14. Looking at the first four grounds for

 imposing a large costs bond, Johnson does not appear to have an ability to pay costs, or he would

 not have dropped the Judge Lawrence case over the $5,000 cash bond he was ordered to post.

 Secondly, he has no presence here, not just in Utah but the United States. Thus, he has no

 attachable assets here. Third, his claims have no underlying factual basis. They are speculative

 and conclusory. His complaint contains no factual basis to allege or conclude that Hunter’s stock

 transfers going back to 2016 were never authorized. Johnson would have no way of knowing that

 when the only person who does know is dead. Fourth, Johnson has a history of failing to comply

 with past Utah court orders. Id. at p. 11.

        In addition to the preceding 4 reasons justifying a costs bond, Johnson fails to rebut the

 fact that bad faith conduct in litigation also justifies forcing a party to post a bond as a condition

 of continuing to litigate. Id. at p. 12, bott. For example, Johnson has previously advanced nearly

 identical claims previously dismissed by Judge Lawrence and then sought a Utah probate action




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 in bad faith, all in derogation of Judge Lawrence’s R&O. Secondly, misconduct in disobeying

 court orders in prior litigation also justifies imposition of a costs bond. Id. at p. 13, top.

           Finally, Johnson fails to rebut the fact that this case will require extensive discovery, it

 will be complex, and the litigation will involve extensive travel, namely, to Canada and Mexico.

 Id. SRTC’s motion makes clear that these three factors also weigh heavily in favor of requiring a

 large cash costs bond. In sum, Johnson’s Opposition does not undermine any of the several legal

 grounds for imposing a large cash costs bond upon him in this case of at least $25,000.

                                   SUMMARY AND CONCLUSION

           There is no evidence that the deceased, Hunter, ever resided in Mexico. Johnson’s own

 Mexican attorney expressed in an email to Johnson in February 2020 that Hunter seemed to have

 no assets there and that Johnson, in any event, should not rely on a notary to process a

 “succession” in Mexico. 6 Yet Johnson ignored this advice, ran down to Mexico from Canada
                            5F




 anyway to have a Mexican notary create a document announcing publication of Johnson’s alleged

 personal representative status in a Mexican newspaper. Johnson then used that document with its

 fancy, colored stamps as the basis for bringing a fraudulent or wrongful endorsement lawsuit here

 in Utah on behalf of the Canadian estate, claiming an astonishing $200 MILLION in damages.

 Under these same facts, Johnson could just as easily have gotten the same publication

 announcement document from any other country in the world, and it would still lack the same

 legal significance here in Utah. This underscores the absurdity of Johnson’s legal status and

 standing.




 6
     See Exhibit A to SRTC’s Reply Memorandum in Support of Sanctions, a copy of such email.
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        Judge Lawrence ordered Johnson to do certain things if he wanted to have appropriate

 legal authority to act as the personal representative of the Hunter estate in Utah and prosecute

 claims on behalf of the estate. But Johnson refuses to acknowledge the ruling just as he refused to

 acknowledge the advice of his Mexican lawyer, electing instead to try and shop his Mexican

 notary newspaper announcement document to two other Utah judges. He is now on his third Utah

 lawyer and his third Utah judge or court for such purpose—all in 1½ years.

        Based on ¶ 3 of Judge Lawrence’s R&O, this Court should dismiss this case under Rule

 12(b)(6) on account of Johnson’s inability in over a year to prove his legal status and lawfully act

 as personal representative of the Canadian estate in Utah.

        In addition, Johnson’s entire theory of wrongful or fraudulent endorsement is wishful

 thinking. He offers nothing to back up his allegations. They are entirely speculative if not wholly

 fabricated. Speculative damages do not give rise to $75,000 in damages, the jurisdictional limit in

 this case. Moreover, because Johnson’s basis for coming up with $75,000 in damages is sheer

 speculation and conjecture, this case should also be dismissed under Rule 9(b) on account of

 Johnson’s failure to allege fraud or fraudulent endorsement with particularity. Who alleges

 fraudulent endorsement of anything without already having the signatures to compare?

        Lastly, if this case is not dismissed for Johnson’s lack of standing to act in the appropriate

 legal capacity, Johnson, a Canadian national who does not live here and has no connection to

 Utah, and if he truly believes his case has merit, should be ordered to post no less than a $25,000

 cash costs bond for the several reasons set forth in SRTC’s motion and as summarized above.

        DATED this 1st day of December, 2022.




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                                                      MABEY & COOMBS, L.C.


                                                      /s/ J. Michael Coombs
                                                      J. Michael Coombs
                                                      Attorneys for Defendant




                                  CERTIFICATE OF SERVICE

         I hereby certify that on the 1st day of December, 2022, the undersigned caused a true and
  correct copy of the foregoing REPLY MEMORANDUM SUPPORTING DEFENDANT’S
  MOTION TO DISMISS, to be served on those identified below via email as per the court’s
  electronic filing system:

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                                                       /s/ J. Michael Coombs
                                                      J. Michael Coombs




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